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                               Exhibit 98



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
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                                   Nashville, TN

                                                                                Page 1
               UNITED STATES DISTRICT COURT

             FOR THE DISTRICT OF MASSACHUSETTS

    ------------------------x

    IN RE:   PHARMACEUTICAL   )MDL NO. 1456

    INDUSTRY AVERAGE          )

    WHOLESALE PRICE           )CIVIL ACTION:

    LITIGATION                )01-CV-12257-PBS

                              )

    THIS DOCUMENT RELATES TO)

    U.S. ex rel. Ven-A-Care )

    of the Florida Keys,      )

    Inc. v. Abbott            )

    Laboratories, Inc., et    )

    al. No. 06-CV-11337-PBS )

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                                  March 13, 2008



       VIDEOTAPED 30(b)(6) DEPOSITION OF

             CIGNA (CAROLYN HELTON)

       Taken on Behalf of the Defendants




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                                                                               Page 2
  1
      APPEARANCES:
  2
                  FOR THE PLAINTIFF:
  3
                        U.S. DEPARTMENT OF JUSTICE
  4
                        U.S. ATTORNEY'S OFFICE
  5
                        BY GEORGE B. HENDERSON, ESQ.
  6
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                        Boston, Massachusetts               02210
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                  FOR THE DEFENDANT ABBOTT LABORATORIES,
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                  INC.:
14

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                        REED WEITKAMP SCHELL & VICE, PLLC
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                                                                             Page 295
  1
      the VMS system?
  2
      A          When we were doing them monthly, it would
  3
      be within a day or two of when we completed the
  4
      array.        When we were doing them quarterly, it
  5
      was as close to the business -- first business
  6
      day of each quarter that we could get to.
  7
      Q          Okay.      Now, referring you to Roxane
  8
      Exhibit 58, I believe you testified in some
  9
      response to questions by Mr. Heck that with
10
      regard to the arrays shown in the first three
11
      pages of this document, Roxane does not appear
12
      in any of the arrays; is that correct?
13
      A          That's correct.
14
      Q          Now, with respect to all of the arrays
15
      beginning April 1, 1997, through the end of the
16
      time period covered by this document, if the Red
17
      Book had reported lower prices for ipratropium
18
      bromide in the forms covered by K0518 and J7644,
19
      would the allowed amount calculated -- let me
20
      back up.
21
                          If the Red Book had reported lower
22
      prices for Roxane's ipratropium bromide, say, of

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                                                                             Page 296
  1
      $1.00 per milligram, would the allowed amounts
  2
      have been lower?
  3
                          MS. LIEBERMAN:           Objection.         Lack of
  4
      foundation.
  5
                          THE WITNESS:          Yes.
  6
      BY MR. HENDERSON:
  7
      Q          Is that true with respect to all of the
  8
      arrays after April 1 -- on or after --
  9
                          MS. LIEBERMAN:           Objection.
10
      BY MR. HENDERSON:
11
      Q          -- on or after April 1, 1997?
12
                          MS. LIEBERMAN:           Objection.
13
                          THE WITNESS:          I am not quite sure on
14
      all of the arrays.               If we are considering just
15
      the Roxane products being $1.00 --
16
      BY MR. HENDERSON:
17
      Q          You might have to do some calculations?
18
      A          Yes, because there's nine -- for example,
19
      on the 12/21/96, you actually have eight
20
      products that are in the generic.                       If only the
21
      three from Roxane changed, the array --
22
      Q          12/21/96?

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                                                                             Page 297
  1
      A          I'm sorry, '98.
  2
      Q          Okay.
  3
      A          The 00960.
  4
      Q          I'm sorry, the 960?
  5
      A          The Bates stamp.
  6
      Q          Let me get it.           All right.         Thank you.
  7
      Okay.
  8
      A          If you only changed Roxane to $1.00 --
  9
      Q          Yep.
10
      A          -- that's your bottom three.                   Generally
11
      when you have eight items your fourth and your
12
      fifth items are going to be averaged or -- so
13
      the middle two.             So those would fall below and
14
      would not -- it would have calculated off of the
15
      3.22 and the 3.52.
16
      Q          Okay.
17
      A          And it would have made it lower because
18
      you would have averaged the 3.22 and the 3.52.
19
      But I don't know exactly how much lower.
20
      Q          Okay.      All right.         If both Dey and Roxane
21
      had reported or if Red Book had published prices
22
      for ipratropium bromide of $1.00 --

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                                                                             Page 298
  1
      approximately of $1.00 for both Dey and Roxane,
  2
      the allowed amount would have been considerably
  3
      lower; is that fair to say?
  4
      A          Yes.
  5
                          MS. LIEBERMAN:           Object.
  6
      BY MR. HENDERSON:
  7
      Q          Is that true with respect to all of the
  8
      arrays after April 1, 1997?
  9
      A          Yes.
10
      Q          Now, if you could find Abbott Exhibit 603,
11
      which I'm trying to find myself.                       Okay.       If --
12
      looking at the first page, which is an array for
13
      J3370, vancomycin.               If Abbott -- if the
14
      Abbott -- if -- I'm sorry.
15
                          If the Red Book had reported AWP's
16
      for the two Abbott drugs of, for example, $2.00
17
      and $6.00 instead of the $10.56 and the $29.36,
18
      would the allowed amount have been lower?
19
                          MR. HALE:         Objection.
20
                          MS. RAMSEY:          Objection.
21
                          MS. GIULIANA:           Objection.
22
                          THE WITNESS:          Yes.

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